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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                   *            MDL 2179
       “Deepwater Horizon” in the Gulf
       of Mexico, on April 20, 2010               *            SECTION “J”

                                                  *            JUDGE BARBIER
Applies to:
Short Form Joinder for Jay D.                     *            MAG. JUDGE SHUSHAN
Trochesset, Civil Action No.
2:10CV08888-CJB-SS
Doc. No. 69657

                                          ORDER

       There is before the Court the motion of Wynn E. Clark for leave to withdraw as

counsel of record for the Plaintiff/Claimant(s) Jay D. Trochesset and Silver Dollar, Inc.,

(collectively, the “Plaintiff/Claimant”) in Short Form Joinder Doc. 69657.

       IT IS, THEREFORE, ORDERED that:

       1.       The Movant has complied with Local Rule 83.2.11.

       2.       The allegations of the motion are true, and the relief prayed for should be

granted.

       3.       Wynn E. Clark is granted leave to withdraw as counsel of record for the

Plaintiff/Claimant(s), Jay D. Trochesset and Silver Dollar, Inc., Short Form Joinder Doc.

69657.

       SO ORDERED, on this ___ day of ______________, 2012.


                                           ____________________________________
                                           UNITED STATES MAGISTRATE JUDGE
Submitted by:

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